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13
14                          UNITED STATES DISTRICT COURT

15                                     DISTRICT OF NEVADA

16   NORMA JEAN PARTIE,                           Case No. 2:21-cv-01366-JCM-BNW

17                        Plaintiff,

18   vs.                                          STIPULATION AND ORDER FOR
                                                  DISMISSAL WITH PREJUDICE
19   ETHICON, INC., ETHICON
     WOMEN’S HEALTH AND
20   UROLOGY, A Division of Ethicon, Inc.,
     GYNECARE, JOHNSON & JOHNSON,
21   AND DOES 1-20,

22                        Defendants.

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 1                   Plaintiff Norma Jean Partie and Defendants Ethicon, Inc. and Johnson

 2   & Johnson stipulate to dismiss all claims in this action with prejudice pursuant to

 3   Fed. R. Civ. P. 41(a)(1)(A)(ii), each party to bear its own attorneys’ fees and costs.

 4   NGUYEN & ASSOCIATES, LLC                      KAEMPFER CROWELL

 5
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12                                                 Attorneys for Defendants Johnson &
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13
14

15                                          ORDER
16                   IT IS SO ORDERED.

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19                                           UNITED STATES DISTRICT JUDGE
                                                          August 1, 2024
20                                           DATED:
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